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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF LOUISIANA

 In re: Oil Spill by the Oil Rig     *      MDL No. 2179
 “Deepwater Horizon” in the Gulf     *
 of Mexico, on April 20, 2010        *
 .                                   *      SECTION: “J”
                                     *      JUDGE BARBIER
 This Document Relates to:           *
 Nos. 10-4536, 10-04182, 10-03059,   *
 13-4677, 13-158, 13-00123           *      MAGISTRATE JUDGE
                                     *      SHUSHAN
                                     *
 *************                       *


CONSENT DECREE AMONG DEFENDANT BP EXPLORATION & PRODUCTION
  INC. (“BPXP”), THE UNITED STATES OF AMERICA, AND THE STATES OF
         ALABAMA, FLORIDA, LOUISIANA, MISSISSIPPI, AND TEXAS
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        A.      This Consent Decree addresses civil claims arising from the Deepwater Horizon

Incident asserted by the United States and/or the Gulf States (Alabama, Florida, Louisiana,

Mississippi, and Texas) against BPXP and BP Entities, including claims for civil penalties,

natural resource damages, response costs, and other damages. The Gulf States and BPXP have

also entered into a separate settlement agreement addressing economic damages and other claims

arising from the Deepwater Horizon Incident asserted by each Gulf State against BP Entities

(“Settlement Agreement”).

         B.     The United States of America filed a complaint on December 15, 2010, captioned

United States v. BP Exploration & Production Inc., et al., No. 10-4536 in MDL 2179 (E.D. La.),

relating to the Deepwater Horizon Incident alleging, among other things, that BPXP violated the

CWA and is liable without limitation under OPA for removal costs and damages, including for,

inter alia, injuries to, destruction of, loss of, or loss of use of natural resources and net loss of

taxes, royalties, rents, fees, and net profit shares due to the injury to, destruction of, and loss of

real property, personal property, and natural resources.

         C.     The State of Alabama filed a first amended complaint on April 7, 2011, captioned

State of Alabama v. BP p.l.c., Case No. 2:10-CV-04182 (E.D. La.), that was transferred to MDL

2179 (E.D. La.). Alabama’s complaint alleges, among other things, that BPXP and certain other

BP Entities violated the Alabama Water Pollution Control Act, Ala. Code § 22-22-1 et seq., the

Alabama Air Pollution Control Act, Ala. Code § 22-28-1 et seq., the Alabama Hazardous Wastes

Management Act, Ala. Code § 22-30-1 et seq., and the Alabama Solid Waste and Recyclable

Materials Management Act, Ala. Code § 22-27-1 et seq., and therefore are liable for civil

penalties under those statutes. Alabama’s amended complaint also sought costs associated with




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oil spill response actions, punitive damages and compensatory damages, including, without

limitation, damages to natural resources and State properties, lost tax, and other revenues, under

the Alabama Water Pollution Control Act, OPA, general maritime law, and common law.

        D.     The State of Louisiana filed a first amended complaint on April 19, 2011,

captioned State of Louisiana v. BP Exploration & Production, Inc., Case Nos. 11-cv-0516 and

10-cv-03059 in MDL 2179 (E.D. La.). Louisiana’s amended complaint alleges, among other

things, that BPXP and certain other BP Entities violated the Louisiana Environmental Quality

Act/Water Control Law, La. R.S. § 30:2011 et seq., § 30:2071 et seq., and are therefore liable for

civil penalties under that statute. Louisiana’s amended complaint also sought costs associated

with oil spill response actions and damages, including, without limitation, damages to natural

resources, State property, costs of increased public services, and lost revenues, pursuant to OPA,

and the Louisiana Oil Spill Prevention and Response Act, La. R.S. § 30:2451 et seq.

        E.     The State of Texas filed a complaint on May 17, 2013, captioned State of Texas v.

BP Exploration & Production Inc., et al., Case No. 1:13-cv-315 (E.D. Tex.), that was transferred

to MDL 2179, where Texas filed an amended complaint on June 18, 2013, captioned State of

Texas v. BP Exploration & Production Inc., et al., Case No. 13-cv-4677 (E.D. La.). Texas’

amended complaint alleges, among other things, that BPXP, certain other BP Entities, and other

parties are liable for civil penalties under Texas’ Oil Spill Prevention and Response Act, Tex.

Nat. Res. Code § 40.001 et seq., and the Texas Water Code, Tex. Water Code § 26.001 et seq.

Texas’ amended complaint also sought cost recovery and damages, including, without limitation,

for injury to natural resources, lost tax revenues, lost state park revenues, and other economic

damages, under OPA, the Comprehensive Environmental Response, Compensation, and Liability




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Act (“CERCLA”), 42 U.S.C. § 9601 et seq., Texas’ Oil Spill Prevention and Response Act, Tex.

Nat. Res. Code § 40.001 et seq., and the Texas Water Code, Tex. Water Code § 26.001 et seq.

        F.     The State of Mississippi filed a complaint on April 18, 2013, captioned Hood v.

BP Exploration & Production, Inc., et al., Case No. 1:13-cv-00158 (S.D. Miss.), that was

transferred to MDL 2179 (E.D. La.) on May 9, 2013. Mississippi’s complaint alleges, among

other things, that BPXP, certain other BP Entities, and other parties are liable for damages to the

State, including for injury to natural resources, economic losses, and costs of providing increased

public services under OPA and general maritime law, and for punitive damages under general

maritime law. The State of Mississippi filed an additional complaint in the Circuit Court for the

First Judicial District of Harrison County, Mississippi, on April 19, 2013, captioned Hood v. BP

Exploration & Production, Inc., et al., bearing case number A2401-13-93 on the docket of said

court. The aforesaid action was removed to the U.S. District Court for the Southern District of

Mississippi, Case No. 1:13-cv-00206 on May 3, 2013, and was transferred to MDL 2179 (E.D.

La.) on May 20, 2013. Mississippi’s additional complaint alleges, among other things, that

BPXP, certain other BP Entities, and other parties violated the common law, Mississippi Air and

Water Pollution Control Law, Miss. Code Ann. § 49-17-1 et seq., the Antiquities Law of

Mississippi, Miss. Code Ann. § 39-7-1 et seq., the Solid Waste Disposal Law of 1974, Miss.

Code Ann. § 17-17-1 et seq., and Miss. Code Ann. § 29-1-19, and therefore are liable for civil

penalties under those statutes. Mississippi’s additional complaint also sought costs associated

with economic, compensatory, and punitive damages, including, without limitation, damages to

natural resources and State properties, and lost tax and other revenues under Mississippi law.

        G.     The State of Florida filed a first amended complaint on April 20, 2013, captioned




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State of Florida v. BP Exploration & Production, Inc., et al., Case No. 5:13-cv-00123 (N.D.

Fla.), that was transferred to MDL 2179 (E.D. La.). Florida’s amended complaint alleges, among

other things, that BPXP and certain other BP Entities are liable for damages, including, but not

limited to, loss of taxes, under OPA, common law, and general maritime law, and punitive

damages under general maritime law and Florida law. The Trustees for the natural resources of

the State of Florida filed a complaint on March 5, 2014, captioned Vinyard et al. v. BP

Exploration & Production, Inc., et al., Case. No. 3:14-cv-00112 (N.D. Fla.), that was transferred

to MDL 2179 (E.D. La.) on March 24, 2014. The Trustees for the State of Florida’s complaint

alleges, among other things, that BPXP and certain other BP Entities are liable for removal costs

and natural resource damages under OPA.

        H.     On February 22, 2012, the Court entered an order granting partial summary

judgment and finding BPXP liable for civil penalties under Section 311(b)(7) of the CWA, 33

U.S.C. § 1321(b)(7), in an amount to be determined by the Court. In the same order, the Court

issued a declaratory judgment against BPXP, holding BPXP jointly and severally liable for

removal costs and damages under Section 1002 of OPA, 33 U.S.C. § 2702. See In re Oil Spill by

the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, 844 F. Supp. 2d 746

(E.D. La. 2012), aff’d in part sub nom. In re Deepwater Horizon, 753 F.3d 570 (5th Cir. 2014),

rehearing en banc denied 775 F.3d 741 (5th Cir. 2015), cert. denied 135 S. Ct. 2893 (2015).

        I.     On November 14, 2011, the Court entered an order dismissing Alabama’s and

Louisiana’s claims under state law, including for civil penalties, as being preempted by federal

law. In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20,

2010, No. 10-3059, 2011 WL 5520295 (E.D. La. Nov. 14, 2011).




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          J.   On October 12, 2011 and December 7, 2011, the DOI, on behalf of BSEE issued

BPXP notifications of incidents of noncompliance, alleging, among other things, violations of

the OCSLA, 43 U.S.C. § 1301 et seq., and its implementing regulations 30 C.F.R. Part 250,

Subparts A, C, D, and Q. The alleged violations occurred while BPXP and its contractors

conducted drilling and temporary abandonment procedures at the Macondo Well. BPXP filed

administrative appeals of the incidents of noncompliance with the IBLA (IBLA 2012-0050 and

IBLA 2012-0085), which appeals have been stayed pending resolution of this action. Subject to

the right to an appeal, BSEE has authority to assess civil penalties for incidents of

noncompliance, as well as seek other appropriate relief, pursuant to 43 U.S.C. § 1350(b)(1) &

(b)(2).

          K.   On July 15, 2010, the DOI, on behalf of the Bureau of Ocean Energy

Management, Regulation and Enforcement, issued a letter regarding BPXP’s obligations

pursuant to OCSLA and the Federal Oil and Gas Royalty Management Act, 30 U.S.C. § 1756.

BPXP filed an administrative appeal of this letter to the IBLA (IBLA 2010-0236), which appeal

has been suspended.

          L.   The U.S. Coast Guard, NOAA, DOI, EPA, USDA, and other federal agencies

have incurred costs, including response, removal, and natural resource damages assessment

costs, as a result of the discharges of oil into the waters of the United States relating to the

Deepwater Horizon Incident.

          M.   Each of the Gulf States, including their respective State Trustees, has incurred

costs, including response, removal, and natural resource damages assessment costs, as a result of

the discharges of oil into the waters of the United States and/or the Gulf States relating to the




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Deepwater Horizon Incident.

       N.      On January 30, 2013, the Court in U.S. v. BP Exploration & Production, Inc.,

Case No. 2:12-cr-00292 (E.D. La.) approved a criminal Plea Agreement between the United

States and BPXP pursuant to which BPXP pled guilty to an information charging it with eleven

counts of violations of 18 U.S.C. § 1115 (Misconduct or Neglect of Ship Officers), one count of

violation of 18 U.S.C. § 1505 (Obstruction of Congress), one misdemeanor count of a violation

of 33 U.S.C. §§ 1319(e)(1)(A) and 1321(b)(3) (CWA), and one misdemeanor count of a

violation of 16 U.S.C. §§ 703 and 707(a) (Migratory Bird Treaty Act), relating to the Deepwater

Horizon Incident.

       O.      On November 28, 2012, EPA issued a notice of suspension to BP p.l.c., BP

America, Inc., BPXP, and other BP Entities from participating in federal contracts and other

covered transactions. On February 1, 2013, EPA issued a notice of statutory disqualification to

BPXP stating that BPXP cannot receive federal contracts or benefits if any part of the work will

be performed at its Houston headquarters.

       P.      On March 13, 2014, BP p.l.c., BPCNA, BPXP, and certain other BP Entities

entered into an Administrative Agreement with EPA to resolve all suspension and debarment

matters arising from the Deepwater Horizon Incident. The Administrative Agreement

incorporates requirements of both the Plea Agreement and a Securities and Exchange

Commission Judgment Order entered against BP p.l.c. on December 10, 2012 (Securities and

Exchange Comm’n v. BP p.l.c., Case No. 2:12-cv-02774 (E.D. La.)).

       Q.      Trial has concluded on the United States’ CWA claims, No. 10-4536. After the

first phase of trial, on September 9, 2014, the Court issued its amended Findings of Fact and




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Conclusions of Law finding that the discharge of oil was the result of BPXP’s gross negligence

and willful misconduct within the meaning of Section 311(b)(7)(D) of the CWA. See In re Oil

Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, 21 F. Supp.

3d 657 (E.D. La. 2014). BPXP has disputed and appealed this decision to the U.S. Court of

Appeals for the Fifth Circuit.

       R.      After the second phase of trial, on January 15, 2015, the Court issued its Findings

of Fact and Conclusions of Law with respect to the Phase Two Trial (Doc. No. 14021), finding,

inter alia, that 4.0 million barrels of oil were released from the Macondo Reservoir (Rec. Doc.

14021 ¶ 273); and that, for purposes of calculating the maximum civil penalty under the CWA,

3.19 million barrels of oil discharged into the Gulf of Mexico.

       S.      The Court conducted the third phase of the trial regarding the United States’ civil

penalty claim filed under the CWA between January 20 and February 2, 2015. The Court has not

yet issued its findings of fact or conclusions of law regarding this third phase of the CWA trial.

       T.      The Parties agree, and the Court by entering this Consent Decree finds, that this

Consent Decree, (i) has been negotiated at arm’s length, in good faith, and will limit, avoid and

resolve litigation between the Parties, and (ii) is fair, reasonable, and furthers the objectives of

the statutes listed in the covenants not to sue.

       NOW, THEREFORE, without further adjudication, findings or admissions of any issue

of fact or law in connection with the Deepwater Horizon Incident, other than those expressly set

forth in this Consent Decree, and with the consent of the Parties,

       IT IS HEREBY ADJUDGED, ORDERED, AND DECREED as follows:




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I.     JURISDICTION AND VENUE

       1.      Jurisdiction. This Court has jurisdiction over the subject matter of this action,

pursuant to, inter alia, 33 U.S.C. §§ 1321(b), 1327, and 2717(b) and 28 U.S.C. §§ 1327, 1331,

1333, 1345, and 1355, and over the Parties for the purposes of the entry and enforcement of this

Consent Decree.

       2.      Venue. Venue lies in the Eastern District of Louisiana pursuant to, inter alia, 33

U.S.C. §§ 2717(b) and 1321(b)(7)(E), and 28 U.S.C. §§ 98(a),1391, and 1395.

       3.      Findings Regarding Jurisdiction and Venue.

               a.      Solely for purposes of this Consent Decree or any action to enforce this

Consent Decree, the Court finds and the Parties acknowledge and agree that: (a) the Court has

exclusive jurisdiction over this Consent Decree and any action to enforce it; and (b) venue is

proper in the Eastern District of Louisiana.

               b.      This Court finds and the Parties agree that the Court has authority to enter

this Order as to all claims addressed herein, including those transferred to MDL 2179 pursuant to

28 U.S.C. § 1407.

       4.      Retention of Jurisdiction. Consistent with the terms of this Consent Decree,

including its Appendices, the Court shall retain jurisdiction over this case for the purpose of

resolving disputes arising under this Consent Decree and effectuating or enforcing compliance

with the terms of this Consent Decree.

II.    APPLICABILITY

       5.      Persons Bound. The obligations of this Consent Decree apply to and are binding

upon the United States, each of the Gulf States, and BPXP and, for the limited purposes set forth




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in Paragraph 6, BP p.l.c. and BPCNA, and each of their successors, assigns, or other entities or

persons otherwise bound by law to comply with this Consent Decree.

        6.     Participation of BP p.l.c. and BPCNA. BP p.l.c. and BPCNA are entering into this

Consent Decree for the limited purpose of guaranteeing the payment obligations of BPXP,

providing financial assurance, and granting and receiving covenants not to sue, as set forth in this

Consent Decree.

        7.     Liability of Successors and Assigns.

               a.      Any legal successor or assign of BPXP, BPCNA, or BP p.l.c. shall be liable

for the payment and other performance obligations of BPXP, BPCNA, or BP p.l.c., as applicable

hereunder, and an agreement to be so liable shall be included by BPXP, BPCNA, or BP p.l.c., as

applicable, in the terms of any sale, acquisition, or merger of BPXP, BPCNA, or BP p.l.c., as

applicable, with appropriate terms for the retention or transfer of financial assurances for BPXP’s

payment obligations under the Consent Decree.

               b.      No change in the ownership or control of BPXP, BPCNA, or BP p.l.c.

shall alter the obligations of BPCNA or BP p.l.c. as guarantors without the express written

agreement of the United States and the Gulf States.

               c.      In the event of the sale, assignment, or transfer of some but not all of

BPXP’s assets to an unaffiliated third party pursuant to an arm’s-length transaction, such third

party shall not be liable for BPXP’s obligations under this Consent Decree.

III.    DEFINITIONS

        8.     Terms Defined in Statute or Regulation. Capitalized terms used in this Consent

Decree that are defined in the CWA, OPA, or the OCSLA, or in regulations promulgated




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pursuant to the CWA, OPA, or OCSLA, shall have the meanings assigned to them in such law or

regulations, unless otherwise provided in this Consent Decree. In the case of a conflict between a

defined term in this Consent Decree and any such term in OPA, CWA, OSCLA, or other law, the

Consent Decree shall govern.

       9.      Terms Defined in this Consent Decree. For purposes of this Consent Decree,

whenever the terms set forth below are used, the following definitions shall apply:

               a.      “Act of Insolvency” means any one of the following: the presentation of a

winding-up petition in respect of BP p.l.c., the making of an application for an administration

order in respect of BP p.l.c., an application to court for an order convening meetings of creditors

of BP p.l.c. to consider a scheme of arrangement under the Companies Act 2006 that would

materially alter the United States’ or any Gulf State’s rights against BP p.l.c. under this Consent

Decree, the summoning of meetings of the creditors of BP p.l.c. (including the United States and

the Gulf States) to consider a proposal for a company voluntary arrangement or other

composition under the Insolvency Act 1986 that would materially alter the United States’ or any

Gulf State’s rights against BP p.l.c. under this Consent Decree, or the appointment of an

administrative receiver, administrator, or liquidator in respect of BP p.l.c. If in the case of a

petition presented or application made by a creditor, contributory or other third party, such

petition or application is stayed, dismissed, or withdrawn within 60 Days of its filing, such a

petition or application shall not constitute an Act of Insolvency. For the purposes of this

Paragraph, the term “materially alter” means an alteration to the United States’ or any Gulf

State’s rights against BP p.l.c. under the Consent Decree which reduces the amounts owed or




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payable, or extends the time at which payments are to be made, to the United States or any Gulf

State or is otherwise materially prejudicial to the United States or any Gulf State.

               b.      “Administrative Agreement” means the agreement reached on March 13,

2014, between BP p.l.c., BPCNA, BPXP, and certain other BP Entities and the EPA, as

amended, to resolve all suspension and debarment matters arising from the Deepwater Horizon

Incident and which is attached as Appendix 4 to this Consent Decree.

               c.      “BP Entity” or “BP Entities” means one or more of the following: BP

p.l.c., BPCNA, and BPXP, and any parents, subsidiaries, successors, assigns, and all entities

identified in Appendix 7 to this Consent Decree, and, for each of the preceding, all of their

current, future, and former officers, directors, and employees in their official capacities.

               d.      “BP p.l.c.” means BP p.l.c., a company incorporated in England whose

registered office is at 1 St. James’s Square, London, SW1Y 4PD, England.

               e.      “BPCNA” means BP Corporation North America Inc., incorporated in the

State of Indiana, with its current principal place of business in Houston, Texas.

               f.      “BPXP” means BP Exploration & Production Inc., incorporated in the

State of Delaware, with its current principal place of business in Houston, Texas.

               g.      “BSEE” means the the Bureau of Safety and Environmental Enforcement

in the Department of the Interior.

               h.      “Change of Control” means change of control of BP p.l.c. in the form of

a takeover bid, tender offer or other merger transaction (however effected), that has become

unconditional in all respects or otherwise effective, under which a third party or group of parties




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acting together acquires such number of shares in BP p.l.c. (or an interest in such shares) so as to

carry more than 50% of the voting rights in BP p.l.c.

                i.     “Consent Decree” means this Consent Decree, including all its

appendices.

                j.     “Court” means the United States District Court for the Eastern District of

Louisiana.

                k.     “CWA” means the Federal Water Pollution Control Act, 33 U.S.C.

§§ 1251-1388.

                l.     “Date of Lodging” means the date upon which the United States submits

this Consent Decree to the Court, prior to soliciting public comment on the Consent Decree or

the PDARP.

                m.     “Day” means a calendar day unless expressly stated to be a business day.

In computing any period of time under this Consent Decree, where the last day would fall on a

Saturday, Sunday, or federal holiday, the period shall run until 5 p.m. Central Time of the next

business day.

                n.     “Deepwater Horizon” means the mobile offshore drilling unit Deepwater

Horizon, including its engines, gear, tackle, apparel, riser, and appurtenances.

                o.     “Deepwater Horizon Incident” means (1) all discharges of hydrocarbons

or other substances from the Macondo Well, including discharges from, through, or into the

Deepwater Horizon, occurring on or after April 20, 2010, but prior to the Date of Lodging of the

Consent Decree, regardless of any subsequent movement, migration, resuspension, or resurfacing




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of such hydrocarbons or other substances; (2) the installation, drilling, construction and blowout

of the Macondo Well; (3) the explosion and fire on the Deepwater Horizon; (4) the loss of the

Deepwater Horizon; (5) containment efforts related to the Macondo Well; (6) construction of the

relief wells within the meaning of the Macondo Well; and (7) cleanup, removal, and remediation

efforts, and all other response or restoration actions, including the application of dispersants, in

connection with the foregoing events.

               p.      “Deepwater Horizon Oil Spill NRD Fund” means the incident-specific

subaccount within the NRDAR Fund established for the Deepwater Horizon Incident.

               q.      “DOI” means the U.S. Department of the Interior.

               r.      “DOJ ENRD” means the U.S. Department of Justice’s Environment and

Natural Resources Division.

               s.      “Effective Date” means the date upon which the Court enters this Consent

Decree.

               t.      “EFT” means a FedWire Electronic Funds Transfer.

               u.      “EPA” means the U.S. Environmental Protection Agency.

               v.      “Exhibit B” means Exhibit B to the Plea Agreement made enforceable by

the Order of Special Conditions of Probation. A copy of Exhibit B is attached to Appendix 5 to

this Consent Decree.

               w.      “Federal Trustees” means any and all federal officials designated by the

President under Section 1006(b)(2) of OPA, 33 U.S.C. § 2706(b)(2), or authorized under any

other applicable law, to act as trustees on behalf of the public for Natural Resources in




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connection with the Deepwater Horizon Incident, including the Secretary of Commerce, the

Secretary of the Interior, the Secretary of Agriculture, and the Administrator of the U.S.

Environmental Protection Agency, and their respective delegates.

                x.     “Framework Agreement” means the agreement between BPXP, the

United States, and the States of Alabama, Florida, Louisiana, Mississippi, and Texas titled the

Framework for Early Restoration Addressing Injuries Resulting from the Deepwater Horizon Oil

Spill, dated April 20, 2011.

                y.     “Gulf State” or “Gulf States” means one or more of the States of

Alabama, Florida, Louisiana, Mississippi, and Texas.

                z.     “IBLA” means the Interior Board of Land Appeals in the Department of

the Interior.

                aa.    “Implementation Plan” means “the detailed implementation plan”

required by paragraph 32 of Exhibit B. The approved Implementation Plan, redacted to remove

certain information in conformance with the standard provided by Paragraph 39.b., is attached as

Appendix 6 to this Consent Decree.

                bb.    “Indemnified Parties” means those entities identified in Appendix 3 and

any indemnified related parties with whom any of the BP Entities has entered into agreements to

indemnify, hold harmless, or reimburse the party with respect to U.S. Covered Matters or State

Covered Matters, prior to July 2, 2015.

                cc.    “Macondo Well” means (a) Macondo Well 1 (including MC-252#1, Well

No. 001ST00BP00, MC-252#1 ST1, Well No. 001ST00BP01), Macondo Well 2 (including MC-




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252#2, Well No. 003ST00BP00), and Macondo Well 3 (including MC-252#3, Well No.

002ST00BP00) within Block 252, Mississippi Canyon, OCS Official Protraction Diagram, NH

16 16-10 existing on or before the Date of Lodging of the Consent Decree; (b) the Deepwater

Horizon; (c) a coffer dam used in the course of removal work conducted during the discharge of

oil from Block 252 of the Mississippi Canyon that began April 20, 2010; (d) “the Macondo

Well” as defined in the United States’ Complaint in MDL 2179; and (e) the eight aliquots within

Block 252, Mississippi Canyon, OCS Official Protraction Diagram, NH 16-10, three of which

were owned or operated by BPXP or a BP Entity as of July 2, 2015.

               dd.     “Natural Resource” and “Natural Resources” means land, fish, wildlife,

biota, air, water, ground water, drinking water supplies, sediment, habitat, supporting ecosystem,

and/or any other such resources at any time belonging to, managed by, held in trust by,

appertaining to, regulated by, assessed as part of the Deepwater Horizon Natural Resource

Damages assessment, or otherwise controlled by the United States (including resources of the

exclusive economic zone; “system unit resources” as defined by 54 U.S.C. § 100721(3); “park

system resources” as defined by 16 U.S.C. § 19jj(d); and marine “sanctuary resources” as

defined by 16 U.S.C. § 1432(8)), any Gulf State, and/or any Trustee.

               ee.     “Natural Resource Damages” means any costs or damages recoverable

by the United States or any of the Gulf States (including the Trustees) as trustees or parens

patriae on behalf of the public under Section 1002(b)(2)(A) of OPA, 33 U.S.C. § 2702(b)(2)(A),

the Park System Resource Protection Act, 54 U.S.C. § 100722 and the former 16 U.S.C. § 19jj-1

(repealed Dec. 19, 2014), the National Marine Sanctuaries Act, 16 U.S.C. § 1443, Section

311(f)(4) and (5) of the CWA, 33 U.S.C. §§ 1321(f)(4) and (5), Section 107(a)(4)(C) of




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CERCLA, 42 U.S.C. § 9607(a)(4)(C), any other federal law, state law, common law, or any

federal, state, or local regulation, rule, guidance or ordinance, as compensation to the public for

injury to, destruction of, loss of, or loss of use of Natural Resources, including any natural

resource services they provide, resulting from a release or threat of release of oil or a hazardous

substance or any removal or response action (including any diversion of freshwater). Natural

Resource Damages include, without limitation: (i) the costs of assessing injury, destruction, loss

of, or loss of use of Natural Resources and the resulting damages; (ii) the costs of restoration,

rehabilitation, or replacement of injured, destroyed, or lost Natural Resources and natural

resource services or of acquisition of equivalent resources; (iii) the costs of planning and

monitoring such restoration activities; and (iv) any other compensation for diminution in value or

loss of use or non-use values of Natural Resources.

                ff.    “NOAA” means the National Oceanic and Atmospheric Administration.

                gg.     “NRDAR Fund” means the DOI’s Natural Resource Damage

Assessment and Restoration Fund.

                hh.    “OCSLA” means the Outer Continental Shelf Lands Act, 43 U.S.C.

§§ 1331-1356.

                ii.    “OPA” means the Oil Pollution Act, 33 U.S.C. §§ 2701-2762.

                jj.    “OSLTF” means the Oil Spill Liability Trust Fund established pursuant to

26 U.S.C. § 9509 and 33 U.S.C. § 1321(s).

                kk.    “Paragraph” means a portion of this Consent Decree identified by an

Arabic numeral or a lower case letter.




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               ll.     “Party” or “Parties” means any or all of the United States, the Gulf

States, BPXP, BPCNA, and BP p.l.c.

               mm. “PDARP” means the Programmatic Damage Assessment and Restoration
Plan for the Deepwater Horizon Oil Spill.

               nn.     “Plea Agreement” means the agreement approved by the District Court

for the Eastern District of Louisiana on January 29, 2013, which is attached as Appendix 5 to this

Consent Decree.

               oo.     “Project Stipulation” means a stipulation entered into pursuant to the

Framework Agreement.

               pp.     “RESTORE Act” means the Resources and Ecosystems Sustainability,

Tourist Opportunities and Revived Economies of the Gulf Coast States Act of 2012, Public Law

112-141, Subtitle F.

               qq.     “Section” means a portion of this Consent Decree denoted by a capitalized

Roman numeral.

               rr.     “Settling Local Entity” means any local governmental entity that has, in

the past, present, or future, settled claims for economic and other damages arising from the

Deepwater Horizon Incident.

               ss.     “State Covered Matters” means the claims to which the covenant not to

sue provided in Paragraph 61 applies.

               tt.     “State Trustees” means any and all state and local officials designated by

any governor of any Gulf State under Section 1006(b)(3) of OPA, 33 U.S.C. § 2706(b)(3), or




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authorized under any other applicable law, to act as a trustee on behalf of the public for Natural

Resources in connection with the Deepwater Horizon Incident, including officials from the

Alabama Department of Conservation and Natural Resources, the Geological Survey of

Alabama, the Florida Department of Environmental Protection, the Florida Fish and Wildlife

Conservation Commission, the Louisiana Coastal Protection and Restoration Authority, the

Louisiana Oil Spill Coordinator’s Office, the Louisiana Department of Environmental Quality,

the Louisiana Department of Wildlife and Fisheries, the Louisiana Department of Natural

Resources, the Mississippi Department of Environmental Quality, the Texas Parks and Wildlife

Department, the Texas General Land Office, and the Texas Commission on Environmental

Quality, and their respective delegates.

               uu.     “Trustee” or “Trustees” means one or more Federal Trustees and/or State

Trustees.

               vv.     “U.S. Covered Matters” means the claims to which the covenant not to

sue provided in Paragraph 60 applies.

               ww. “USDA” means the U.S. Department of Agriculture.

               xx.     “United States” means the United States, its agencies, and

instrumentalities.

IV.    CIVIL PENALTY

       10.     Civil Penalty Amount. BPXP shall pay the United States the sum of $5.5 billion

as a civil penalty pursuant to 33 U.S.C. § 1321, and subject to the RESTORE Act.




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        11.    Civil Penalty Payment Schedule. BPXP shall pay the civil penalty in

accordance with the schedule set forth in Table 1. The Assumed Year presented in Table 1

shall be adjusted, if necessary, so that the first payment is due on the first anniversary after

the Effective Date and each subsequent payment is due, respectively, on the subsequent

anniversary of the Effective Date.

                          Table 1: Payment Schedule for Civil Penalty
                Payment Date                 Assumed Year                      Amount
       Anniversary of the Effective Date         2017                             $379,310,345
       Anniversary of the Effective Date         2018                             $189,655,172
       Anniversary of the Effective Date         2019                             $379,310,345
       Anniversary of the Effective Date         2020                             $379,310,345
       Anniversary of the Effective Date         2021                             $379,310,345
       Anniversary of the Effective Date         2022                             $379,310,345
       Anniversary of the Effective Date         2023                             $379,310,345
       Anniversary of the Effective Date         2024                             $379,310,345
       Anniversary of the Effective Date         2025                             $379,310,345
       Anniversary of the Effective Date         2026                             $379,310,345
       Anniversary of the Effective Date         2027                             $379,310,345
       Anniversary of the Effective Date         2028                             $379,310,345
       Anniversary of the Effective Date         2029                             $379,310,345
       Anniversary of the Effective Date         2030                             $379,310,345
       Anniversary of the Effective Date         2031                             $379,310,343
                              Total:                                             $5,500,000,000


        12.    Interest on the Civil Penalty. Interest shall accrue on all unpaid portions of the

civil penalty in accordance with the requirements of Section VII and shall be paid to the United

States on the anniversary of the Effective Date occurring in the year 2032. Such interest and

any interest or stipulated penalties due under Paragraphs 44 and 51 for failure to timely pay the

civil penalty shall be treated as a civil penalty payment pursuant to the CWA and the RESTORE

Act.




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       13.     Civil Penalty Payment Procedure. BPXP shall pay the civil penalty and the

interest on the civil penalty through EFT pursuant to instructions that shall be provided upon

request to BPXP by the Financial Litigation Unit of the Office of the United States Attorney,

Eastern District of Louisiana. BPXP shall cause payment to be accompanied by a transmittal

letter that shall specify that the payment is a civil penalty under Section 311(b) of the CWA and

is being made pursuant to this Consent Decree, in connection with the Deepwater Horizon

Incident. BPXP also shall cause the transmittal letter to specify the civil number assigned to this

case (10-4536), along with DJ No. 90-5-1-1-10026.

       14.     Tax Treatment. No BP Entity may capitalize into inventory or basis or take as a

tax deduction any portion of the civil penalty payments, including interest, due under this Section

IV or any penalties or interest due under Paragraphs 44 and 51 for failure to timely pay the civil

penalty.

V.     NATURAL RESOURCE DAMAGES

       15.     Natural Resource Damages Amount. BPXP shall pay $7.1 billion, plus any of the

$1 billion and accrued interest not yet paid by BPXP under the Framework Agreement, to the

United States and the Gulf States for Natural Resource Damages resulting from the Deepwater

Horizon Incident.

       16.     Natural Resource Damages Payment Schedule. BPXP shall pay the $7.1 billion in

accordance with the schedule set forth in Table 2. The Assumed Year presented in Table 2

shall be adjusted, if necessary, so that the first payment is due one calendar year after the

Effective Date and each subsequent payment is due, respectively, on the subsequent

anniversary of the Effective Date. The payments required by this Paragraph shall be




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distributed to subaccounts within the Deepwater Horizon Oil Spill NRD Fund as set forth in

Section 2.4 of Appendix 2. Interest on all unpaid portions of the Natural Resource Damages

payments required under this Paragraph shall accrue in accordance with Section VII and shall

be paid as provided in Paragraph 21.a.

      Table 2: Payment Schedule for $7.1 Billion Payment for Natural Resource
      Damages
                  Payment Date                 Assumed Year           Amount
        Anniversary of the Effective Date          2017               $489,655,172
        Anniversary of the Effective Date          2018               $244,827,586
        Anniversary of the Effective Date          2019               $489,655,172
        Anniversary of the Effective Date          2020               $489,655,172
        Anniversary of the Effective Date          2021               $489,655,172
        Anniversary of the Effective Date          2022               $489,655,172
        Anniversary of the Effective Date          2023               $489,655,172
        Anniversary of the Effective Date          2024               $489,655,172
        Anniversary of the Effective Date          2025               $489,655,172
        Anniversary of the Effective Date          2026               $489,655,172
        Anniversary of the Effective Date          2027               $489,655,172
        Anniversary of the Effective Date          2028               $489,655,172
        Anniversary of the Effective Date          2029               $489,655,172
        Anniversary of the Effective Date          2030               $489,655,172
        Anniversary of the Effective Date          2031               $489,655,178
                               Total:                                $7,100,000,000


       17.     Final Payment of Early Restoration Funds. As of the Effective Date, the

Framework Agreement and the Project Stipulations entered into under that agreement shall be

void as to undertakings between BPXP and the Trustees, provided, however, that the Trustees

shall use the amounts paid or committed by BPXP under each Project Stipulation for the

project(s) and in the manner specified in each such Project Stipulation and the corresponding

early restoration plan adopted by the Trustees, except that decisions concerning any project

modification(s), the selection and implementation of any replacement project(s), and the use of




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any unexpended early restoration project funds shall be made in accordance with the relevant

provisions of Appendix 2. No later than 30 days after the Effective Date, BPXP shall pay all then-

unpaid amounts that BPXP agreed to pay under the Project Stipulations and the balance

remaining under the Framework Agreement (i.e., any portion of the $1 billion not previously

paid under a Project Stipulation plus accrued interest) to Federal and/or State Trustees in

accordance with Paragraph 18.

       18.     Payment Procedure for Natural Resource Damages. BPXP shall make the

payments required under Paragraphs 15, 17, and 21 into the Deepwater Horizon Oil Spill NRD

Fund, to be managed by DOI for the joint benefit and use of the Trustees in accordance with the

requirements of Paragraph 19.

       19.     Use of Natural Resource Damages Payments. The Trustees shall use the amounts

paid by BPXP pursuant to Paragraphs 15, 17, and 21 to address injuries and/or losses to Natural

Resources (including services provided by Natural Resources) resulting from the Deepwater

Horizon Incident, including for Natural Resource Damage assessment and planning activities of the

Trustees after the Effective Date; for restoration, rehabilitation, replacement, or acquisition of the

equivalent of injured or lost Natural Resources or natural resource services as provided in one or

more restoration plans adopted by the Trustees consistent with 15 C.F.R. Part 990; for

monitoring, information management, oversight, coordination, public education, and

administrative activities related to the restoration plans and programs; and for addressing unknown

conditions and undertaking adaptive management. The Trustees shall expend such funds in

accordance with the provisions of Appendix 2.




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       20.     Role of BP Entities. BPXP and the other BP Entities had and will have no role in

developing the content of Appendix 2 beyond that established by law for members of the public.

       21.     Additional Payments for Unknown Conditions and Adaptive Management. As

described in this Paragraph, BPXP shall pay additional funds, not to exceed $700 million, for use

by the Federal and State Trustees (1) to address injuries and/or losses to Natural Resources

(including services provided by Natural Resources) resulting from the Deepwater Horizon

Incident that are unknown to the Trustees as of July 2, 2015, including for any associated Natural

Resource Damage assessment and planning activities, or (2) to adapt, enhance, supplement, or

replace restoration projects or approaches initially selected by the Trustees. The payments

required under this Paragraph shall consist of the following:

               a.      From the Effective Date, interest shall accrue, as set forth in Section VII,

on the unpaid balance of the $7.1 billion required under Paragraph 15. At any time between

January 1, 2026 and the anniversary of the Effective Date in the assumed year 2032, the United

States and all of the Gulf States may jointly demand payment of all or a part of the accrued and

previously unpaid interest on the amount required under Paragraph 15. BPXP shall pay the requested

amount of accrued and previously unpaid interest within 60 Days of receipt of the joint demand in

accordance with joint instructions provided by the United States and the Gulf States. On the

anniversary of the Effective Date in assumed year 2032, BPXP shall pay any remaining unpaid

accrued interest as required under Paragraphs 15 and 16 to the Federal and/or State Trustees in

accordance with joint instructions provided by the United States and the Gulf States.




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               b.     In addition to the payment(s) of interest under Paragraph 21.a., on the 16th

anniversary of the Effective Date, BPXP shall pay $232 million to the United States for the joint

use of the Federal and State Trustees.

               c.     The payments required by this Paragraph shall be distributed to

subaccounts within the Deepwater Horizon Oil Spill NRD Fund in accordance with Section 2.3.3

of Appendix 2.

        22.    Reimbursement of Assessment Costs. BPXP shall pay a total of $350 million for

previously unreimbursed Natural Resource Damages assessment costs incurred by the Trustees

or paid by the OSLTF in connection with the Deepwater Horizon Incident prior to the Effective Date

and for the publicly-available data management system described in Paragraph 23.f. The $10

million payment made by BPXP to DOI on July 14, 2015 shall be credited against the $350

million total payment. Thereafter, BPXP shall pay the remaining $340 million in accordance

with the schedule set forth in Table 3. The Assumed Year presented in Table 3 shall be

adjusted, if necessary, so that the first payment is due 60 Days after the Effective Date and

each subsequent payment is due, respectively, on the subsequent anniversary of the Effective

Date.

Table 3: Schedule for Payment of Past Federal and State Natural Resource Damages
Assessment Costs
    No.                         Date                      Assumed Year        Amount
     1                      July 14, 2015                     2015           $10,000,000
     2             60 Days After the Effective Date           2016           $50,000,000
     3             Anniversary of the Effective Date          2017           $50,000,000
     4             Anniversary of the Effective Date          2018           $35,000,000
     5             Anniversary of the Effective Date          2019           $35,000,000
     6             Anniversary of the Effective Date          2020           $40,000,000
     7             Anniversary of the Effective Date          2021           $40,000,000




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Eastern District of Louisiana. BPXP shall cause payment to be accompanied by a transmittal

letter that states that the payment is being made pursuant to Paragraph 23.f. of this Consent

Decree. BPXP also shall specify the civil number assigned to this case (10-4536), along with DJ

No. 90-5-1-1-10026. Of the amount paid to the United States, $37 million shall be available to

NOAA to establish, populate, manage, and maintain a Gulf-wide environmental data

management system that shall be readily accessible to all Trustees and the public.

VI.     OTHER PAYMENTS BY BPXP AND RELATED TERMS

        24.     Amount of Other Payments. BPXP shall pay the United States a total of $250

million, allocated as follows:

                a.      $167.4 million to pay unreimbursed response or removal costs related to the

Deepwater Horizon Incident, paid or obligated by the OSLTF or incurred by the United States, prior to

July 2, 2015; and

                b.      $82.6 million in settlement of the United States’ claims under the False

Claims Act, 31 U.S.C. § 3729 et seq., and the Federal Oil and Gas Royalty Management Act,

30 U.S.C. § 1756. This amount includes and resolves the share of royalty owed by BPXP and MOEX

Offshore 2007 LLC for oil lost from the Macondo Well between April 2010 and July 2010 (a total

share of 75%), but does not resolve or impair, in any way, any claims of the United States against

Anadarko Petroleum Corporation or its affiliates for the remaining 25% share of that royalty, for which

the United States alleges that Anadarko Petroleum Corporation or its affiliates are liable. This Consent

Decree prohibits use or application of any of the proceeds secured hereunder – from this $82.6 million

or otherwise – to address in any way the claims of the United States against Anadarko Petroleum

Corporation or its affiliates for royalties related to the Macondo Well




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        25.    Schedule for Payment of Other Amounts. BPXP shall pay the $250 million required

by Paragraph 24 in accordance with the schedule set forth in Table 4 on the respective

anniversary of the Effective Date. The Assumed Year presented in Table 4 shall be adjusted,

if necessary, so that the first payment is due 60 Days after the Effective Date and each

subsequent payment is due, respectively, on the subsequent anniversary of the Effective

Date.

  Table 4: Schedule for Payment of $250 Million
                   Date                         Assumed Year                        Amount
      60 Days After the Effective Date              2016                              $40,000,000
     Anniversary of the Effective Date              2017                              $30,000,000
     Anniversary of the Effective Date              2018                              $30,000,000
     Anniversary of the Effective Date              2019                              $30,000,000
     Anniversary of the Effective Date              2020                              $30,000,000
     Anniversary of the Effective Date              2021                              $30,000,000
     Anniversary of the Effective Date              2022                              $30,000,000
     Anniversary of the Effective Date              2023                              $30,000,000
                                 Total:                                              $250,000,000


        26.    Payment of Other Amounts. BPXP shall make payments of the amounts due to

the United States pursuant to Paragraph 24 through EFT pursuant to instructions that shall be

provided upon request to BPXP by the Financial Litigation Unit of the Office of the United

States Attorney, Eastern District of Louisiana. BPXP shall cause payment to be accompanied by

a transmittal letter that identifies the allocation of the payment set forth in Paragraph 24 and

specifies the payment is being made pursuant to this Consent Decree in connection with the

Deepwater Horizon Incident. BPXP also shall specify the civil number assigned to this case (10-

4536), along with DJ No. 90-5-1-1-10026.




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VII.    INTEREST

        27.    Accrual of Interest. Interest on the unpaid balances due pursuant to Paragraphs 10

and 15 shall accrue from the Effective Date through the date of payment and shall be

compounded annually on each anniversary of the Effective Date and shall be calculated on an

actual/actual day basis. In the event of a payment of interest pursuant to Paragraph 21 or Section

VIII of this Consent Decree that occurs after an anniversary date, the interest shall be calculated

from the Effective Date through the date of payment.

        28.    Interest Rate. Interest shall accrue at the rate calculated by taking the average

market yield on U.S. Treasury securities at 2-year and 3-year constant maturities, quoted on an

investment basis by the U.S. Federal Reserve (H.15 Release), for the period from May 28, 2014 to

May 27, 2015, rounded to two decimal places.

VIII. ACCELERATION OF PAYMENTS

        29.    BPXP Option for Acceleration. BPXP shall have the option (at its sole discretion)

to pay any of the amounts required in Sections IV, V, or VI before they are due. Any such

prepayment of an installment shall include the accrued but unpaid interest, if applicable

(calculated in accordance with Section VII).

        30.    Acceleration Upon Change of Control. If there has been a Change of Control, the

United States and all Gulf States may jointly elect to accelerate the schedule for all or any of the

payments required in Sections IV, V and/or VI. If the United States and all Gulf States jointly

elect to accelerate all or any of the payments due under Sections IV, V and/or VI, such

accelerated payments shall become due and owing 120 Days after service of notice of such

election, or any other time that the Parties may jointly agree upon.




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       31.     Acceleration Upon Insolvency. If there has been an Act of Insolvency, the United

States and all of the Gulf States may jointly elect to accelerate the schedule for all or any of the

payments required in Sections IV, V, and/or VI. If the United States and all of the Gulf States

jointly elect to accelerate all or any of the payments due under Sections IV, V, and/or VI, such

accelerated payments shall become due and owing 120 Days after service of notice of such

election, or any other time that the Parties may agree upon.

IX.    FINANCIAL ASSURANCE

       32.     Commitment of Guarantors.

               a.      As set forth in the Primary Guaranty in Appendix 8, BPCNA hereby

absolutely and irrevocably guaranties the payments of all kinds due from BPXP under this

Consent Decree in the event that BPXP defaults on such payments.

               b.      As set forth in the Secondary Guaranty in Appendix 9, BP p.l.c. hereby

absolutely and irrevocably guaranties the payments of all kinds due from BPXP under this

Consent Decree in the event that BPXP defaults on such payments and BPCNA defaults on its

obligation to serve as primary guarantor.

               c.      For purposes of any action to enforce the guaranty obligations set forth

herein, BPCNA and BP p.l.c. waive all defenses or other arguments based in whole or part on the

nature of the payments guarantied, the nature of the claims from which those payment

obligations arose, or the nature of this Consent Decree.

       33.     Standard for Default.

               a.      For the purposes of Paragraph 32, BPXP shall be considered in default of

a payment required under this Consent Decree if any of the following conditions has been met:




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                       i.      BPXP has failed to make such payment within 60 Days after such

payment has become due under the Consent Decree;

                       ii.     BPXP has filed for bankruptcy under the United States Bankruptcy

Code or other applicable statute(s) or code(s) pertaining to insolvency; or

                       iii.    any third party has petitioned a court to place BPXP in bankruptcy

under the United States Bankruptcy Code or other applicable statute(s) or code(s) pertaining to

insolvency, an order for relief is entered, and any such filing or petition is not dismissed within

60 Days of such order for relief.

               b.      For the purposes of Paragraph 32, BPCNA shall be considered in default

on its guaranty of a payment required under this Consent Decree if BPXP has defaulted on such

payment and any of the following conditions has been met:

                       i.      BPCNA has failed to make such payment within 60 Days after

BPXP has defaulted pursuant to Paragraph 33.a.; or

                       ii.     BPCNA has filed for bankruptcy under the United States

Bankruptcy Code or other applicable statute(s) or code(s) pertaining to insolvency; or

                       iii.    any third party has petitioned a court to place BPCNA in

bankruptcy under the United States Bankruptcy Code or other applicable statute(s) or code(s)

pertaining to insolvency, an order for relief is entered, and any such filing, or petition is not

dismissed within 60 Days of such order for relief.




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X.     INJUNCTIVE RELIEF

       34.     Prior Agreements. Various BP Entities and the United States have previously

entered into certain agreements setting forth injunctive relief and other requirements of

performance related to the Deepwater Horizon Incident, as described generally in this Paragraph:

               a.      On January 29, 2013, the United States District Court for the Eastern

District of Louisiana approved BPXP’s Plea Agreement which included injunctive relief set forth

in Exhibit B. Exhibit B requires BPXP to implement specific improvements related to deep water

drilling safety, including, e.g.: (1) third party verification of blowout preventers;

(2) improvements in its cement design and competency; (3) the maintenance of a real-time,

drilling operations monitoring center in Houston; (4) completion of additional oil spill response

training and drills; (5) audits of the Safety and Environmental Management Systems of BPXP-

contracted drilling rigs and BPXP-operated platforms, including BPXP-owned platform rigs; (6)

development and implementation of a well control competency assessment plan for those it uses

as Well Site leaders; (7) in collaboration with industry and government, initiation of at least four

pilot projects to evaluate technology enhancements intended to improve operational safety with

respect to deep water drilling and make available any resulting data or technology to anyone on

commercially reasonable terms; and (8) requirements related to the use of two blind-shear rams

on blowout preventers. Pursuant to Exhibit B, BPXP has submitted a detailed Implementation

Plan for accomplishing these and other measures related to safe deep water drilling operations.

               b.      Exhibit B also requires appointment of both a process safety monitor and

an ethics monitor. In brief, the process safety monitor’s duties are to review, evaluate, and

provide recommendations for the improvement of BPXP’s process safety and risk management




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procedures. In brief, the ethics monitor’s duties are to review and provide recommendations for

improvement of BPXP’s code of conduct and its implementation and enforcement for the

purpose of preventing future criminal and ethical violations with respect to dealings with

regulatory and enforcement authorities. Exhibit B also requires appointment of an independent,

third party auditor to sample or test compliance with various portions of Exhibit B. Exhibit B to

the Plea Agreement and its Implementation Plan are attached to the Consent Decree as part of

Appendices 5 and 6, respectively.

               c.      On March 13, 2014, BP p.l.c., BPCNA, BPXP, and certain other BP

Entities entered into an Administrative Agreement with the EPA to resolve all suspension and

debarment matters arising from the Deepwater Horizon Incident. The Administrative Agreement

incorporates terms and conditions of both the Plea Agreement noted above and of a Securities

and Exchange Commission Judgment Order entered against BP on December 10, 2012

(Securities and Exchange Commission v. BP p.l.c., E.D. La.). The Administrative Agreement

also requires actions related to maintenance or improvement of ethics and compliance programs

and good corporate governance activities, such as: code-of-conduct training, the operation of an

employee concerns hotline, and maintenance of risk-based compliance standards and procedures

for BP Entities based in the United States. The Administrative Agreement also contains certain

other specific additional provisions targeted to deep water drilling safety in the United States,

including provisions related to contractor oversight and audits of safety and environmental

management systems. The ethics monitor under the Plea Agreement also serves as an ethics

monitor under the Administrative Agreement. A copy of the Administrative Agreement is

attached to the Consent Decree as Appendix 4.




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       35.      Acknowledgement of Compliance. BPXP acknowledges that it is in material

compliance with the injunctive relief provisions set forth in Exhibit B and the requirements of

the Implementation Plan and the Administrative Agreement.

       36.      Compliance with Exhibit B and the Administrative Agreement. BPXP’s and the

other BP Entities’ obligations under Exhibit B, including the Implementation Plan, and under the

Administrative Agreement continue and remain enforceable under the Plea Agreement or

Administrative Agreement, as applicable, and not under this Consent Decree.

       37.      Submissions to DOJ ENRD. BPXP shall provide to DOJ ENRD copies of those

documents specifically identified in Appendix 10. BPXP shall provide each document identified

in Appendix 10 in the time and manner and format required by Appendix 10. To the extent that

BPXP asserts that a document in Appendix 10 being submitted to DOJ ENRD contains

confidential business information, BPXP shall mark or otherwise identify the document as

confidential.

       38.      Information to be Made Publicly Available.

                a.      BPXP shall post to a publicly-available web site:

                       i.      The Consent Decree;

                      ii.      Annual reports submitted to the EPA Suspension and Debarment

Office pursuant to Section X, Paragraph 1 of the Administrative Agreement and the annual

reports submitted to the Department of Justice Criminal Division pursuant to Paragraph 23 of

Exhibit B and Section E of the Implementation Plan;

                     iii.      Formal written notices or warnings that any BP Entity receives

from an instrumentality of the United States under the applicable agreement asserting a material




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violation, deficiency, or non-compliance of either Exhibit B, including the Implementation Plan,

or the Administrative Agreement;

                    iv.       A description (including necessary context) of the changes that are

required of BPXP by operation of either Exhibit B or the Administrative Agreement, as specified

by the entries in Appendix 11; and

                    v.        Final findings of deficiencies from auditors retained under the

Administrative Agreement or Exhibit B.

               b.     Solely for the purposes of this Paragraph, a “final finding of deficiency”

means that recommendation or finding of deficiency, as the case may be, that exists after all

objections and/or appeals have been finally resolved pursuant to the applicable process under

either the Administrative Agreement or Exhibit B and the Implementation Plan.

               c.     Those items that are required to be posted pursuant to Paragraphs 38.a.ii

through 38.a.v, and the manner of posting, are specifically identified in Appendix 11.

       39.     Protocol for Redaction Before On-Line Posting.

               a.     With respect to those documents to be posted pursuant to Paragraph 38,

BPXP shall have 60 Days from either BPXP’s submission of the final document to the relevant

agencies (under the Administrative Agreement or Exhibit B) or BPXP’s receipt of the final

monitor recommendations or final auditor findings of deficiency, whichever is applicable, to post

a redacted version of the document to the publicly-available web site. BPXP may redact:

                     i.       Information that would reveal the identity of an individual or

personal or private information about an individual;

                    ii.       Trade secrets; and




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                    iii.      Confidential business information too sensitive to BPXP’s or

another BP Entity’s competitive position to allow public disclosure.

               b.      At any time following posting of a document to the publicly-available web

site, EPA (for documents under the Administrative Agreement), or the Department of Justice

Criminal Division and/or BSEE (for documents under Exhibit B and the Implementation Plan)

may in their discretion review BPXP’s redacted version of any document for consistency with

the requirements of this Paragraph for redacting. If the relevant agency believes that any material

should not have been redacted under the applicable agency’s standards for protection of trade

secrets, confidential business information, and/or personally identifying information, such

agency shall informally notify BPXP of the objection and initiate informal discussions

concerning the redacted material. In the event the parties are unable to informally resolve the

objection, the relevant agency may in its discretion withdraw the objection, or seek to resolve the

objection pursuant to the provisions of Section XII of this Consent Decree (Dispute Resolution).

       40.     Expiration of Requirement to Provide Documents. The requirements of Paragraph

37 shall terminate with respect to documents required by the Administrative Agreement when

the Administrative Agreement terminates and with respect to documents required by Exhibit B

(including the Implementation Plan) when the Plea Agreement terminates.

       41.     Limited Duration of Postings. The Consent Decree shall remain posted until

termination of the Consent Decree. All postings stemming from Exhibit B shall remain posted

until two years after the last such posting required. All postings stemming from the

Administrative Agreement shall remain posted until two years after the last such posting is




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required. Any posting not covered by the prior sentences of this Paragraph shall remain posted

until all requirements for posting have been satisfied, save for posting of the Consent Decree.

XI.    STIPULATED PENALTIES

       42.     Liability for Stipulated Penalties. BPXP shall be liable for stipulated penalties to

the United States and the Gulf States for violations of this Consent Decree as specified below.

       43.     Definition of Violation. A violation includes failing to perform any payment

obligation required by the terms of this Consent Decree or failing to perform any of the

obligations set forth in Paragraphs 37 and 38, according to all applicable requirements of this

Consent Decree and within the specified time schedules established by this Consent Decree.

       44.     Failure to Make Timely Payments. In addition to the interest that would be due

and any other available remedy, if BPXP fails to make any payment required by Sections IV, V,

or VI, BPXP also shall be liable to the United States and all of the the Gulf States for a per Day,

stipulated penalty as follows:

               Period of Delay or Non-Compliance            Per Violation per Day

               5th through 30th Day after accrual date                     $ 50,000
               31st through 45th Day after accrual date                    $100,000
               Beyond 45th Day after accrual date                          $200,000


       45.     Stipulated Penalties for Other Violations. The following stipulated penalties shall

accrue per violation per Day for each violation of the requirements of Paragraphs 37 and 38 of

this Consent Decree:

               Period of Delay or Non-Compliance            Per Violation per Day

                1st through 30th Day after accrual date                    $ 7,500
                31st through 45th Day after accrual date                   $20,000




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                Beyond 45th Day after accrual date                         $25,000

       46.     Accrual Date of Stipulated Penalties. The stipulated penalties provided for in

Paragraph 44 shall begin to accrue 5 Days after the payment is due and continue to accrue each

Day until full payment is made. The stipulated penalties provided for in Paragraph 45 shall begin

to accrue the Day after the deadline for compliance and shall continue to accrue until

performance is completed or until the violation ceases. Stipulated penalties shall accrue

simultaneously for separate violations of this Consent Decree.

       47.     Schedule for Payment of Stipulated Penalties. Subject to Paragraph 49, BPXP

shall pay any stipulated penalty within 30 Days of receiving a written demand and payment

instructions by the United States.

       48.     Discretion to Waive Stipulated Penalties.

               a.      The United States may, in the unreviewable exercise of its discretion,

reduce or waive any applicable stipulated penalties due for violations of Sections IV, VI, or X of

this Consent Decree.

               b.      The United States and all of the Gulf States may, in the joint exercise of

their unreviewable discretion, reduce or waive any applicable stipulated penalties due for

violations of Section V, VII, VIII, or IX of this Consent Decree.

       49.     Effect of Dispute Resolution. Stipulated penalties shall continue to accrue as

provided in Paragraph 46 during any dispute resolution pursuant to Section XII of this Consent

Decree, but need not be paid until the following:




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               a.      If the dispute is resolved by agreement of the Parties or by a decision of

the United States (after consultation with all of the Gulf States for disputes arising under

Sections V, VII, VIII, or IX) that BPXP does not appeal to the Court, BPXP shall pay accrued

penalties determined to be owing, together with interest, to the United States within 30 Days of

the effective date of the agreement or the receipt of decision of the United States.

               b.      If the dispute is decided by the Court, BPXP shall pay all accrued

penalties determined by the Court as owing, together with interest, within 60 Days of receiving

the Court’s decision or order, except as provided in Paragraph 49.c.

               c.      If any Party appeals the Court’s decision, BPXP shall pay all accrued

penalties determined as owing, together with interest (calculated in accordance with Paragraph

51), within 30 Days of receiving the final appellate court decision.

       50.     Payment of Stipulated Penalties. Each separate violation shall give rise to a single

penalty per Day in the amount specified above. That single penalty shall be allocated in

accordance with this Paragraph.

               a.      For violations of Paragraphs 37 or 38, BPXP shall pay the stipulated

penalty to the United States in accordance with the payment instructions provided by the United

States with the demand.

               b.      For violations of Section V, VII, VIII, or IX, BPXP shall pay the

stipulated penalty in the following manner:

                      i.       BPXP shall pay 10% of the stipulated penalty to the State of

Alabama by wire transfer as follows:

                    Financial Institution:




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                     vi.       BPXP shall pay 50% of the stipulated penalty to the United States

in accordance with the payment instructions provided by the United States with the demand.

        51.     Interest on Late Payments of Stipulated Penalties. If BPXP fails to pay stipulated

penalties according to the terms of this Consent Decree, BPXP shall be liable for interest as

provided for in 28 U.S.C. § 1961, accruing as of the date payment became due. Nothing in this

Paragraph shall be construed to limit the United States from seeking any remedy otherwise

provided by law for BPXP’s failure to pay any stipulated penalties. BPXP shall pay any interest

due under this Paragraph in accordance with the instructions and proportions set forth in

Paragraph 50.

        52.     No Effect on Obligation to Comply. The payment of penalties and interest

pursuant to this Section shall not alter in any way BPXP’s obligation to complete the

performance of the requirements of this Consent Decree.

        53.     No Effect on Other Remedies. Subject to the covenants provided by the United

States and Gulf States in Section XIII, the stipulated penalties provided for in this Consent

Decree shall be in addition to any other rights, remedies, or sanctions available to the United

States or Gulf States for BPXP’s violation of this Consent Decree.

XII.    DISPUTE RESOLUTION

        54.     Exclusivity of Remedy.

                a.     Unless otherwise expressly provided for in this Consent Decree, the

dispute resolution procedures of this Section shall be the exclusive mechanism to resolve

disputes arising under this Consent Decree. BPXP’s failure to seek resolution of a dispute under




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this Section shall preclude it from raising any such issue as a defense to an action by the United

States or the Gulf States to enforce any obligation of BPXP arising under this Consent Decree.

               b.      The dispute resolution procedures set forth in this Section shall not apply

to disputes among the United States and Gulf States, including, but not limited to, disputes

arising under Appendix 2. Such disputes shall be subject to the provisions of Appendix 2 and any

Memoranda of Understanding developed pursuant to Appendix 2.

       55.     Informal Dispute Resolution. If any Party determines that there is a dispute

subject to the Dispute Resolution provisions of this Consent Decree, that Party shall send a

written notice of dispute to all other Parties outlining the nature of the dispute and requesting

informal negotiations to resolve the dispute. The Parties shall endeavor to resolve the dispute

through good faith negotiations, but if the Parties cannot resolve a dispute by informal

negotiations, then the position advanced by the United States, after consultation with any

affected Gulf State, shall be considered binding unless BPXP invokes formal dispute resolution

procedures as set forth below.

       56.     Formal Dispute Resolution.

               a.      To invoke formal dispute resolution, BPXP shall, within 10 Days after the

conclusion of informal dispute resolution, serve on the United States and any affected Gulf State

a written Statement of Position regarding the matter in dispute. The Statement of Position shall

include, but need not be limited to, any factual data, analysis, or opinion supporting BPXP’s

position and any supporting documentation relied upon by BPXP.

               b.      The United States, after consultation with any affected Gulf State, shall

serve its Statement of Position within 20 Days of receipt of BPXP’s Statement of Position. The




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United States’ Statement of Position shall include, but is not limited to, any factual data,

analysis, or opinion supporting that position and any supporting documentation relied upon by

the United States.

               c.      The United States’ Statement of Position shall be binding on BPXP unless

BPXP files a motion for judicial review of the dispute in accordance with the following

Paragraph.

       57.     Judicial Review. BPXP may seek judicial review of the dispute by filing with the

Court and serving on the United States and each of the affected Gulf States in accordance with

Section XIX of this Consent Decree, a motion requesting judicial resolution of the dispute.

               a.      BPXP’s motion must be filed within 20 Days of receipt of the United

States’ Statement of Position pursuant to the preceding Paragraph. The motion shall contain a

written statement of BPXP’s position on the matter in dispute, including any supporting factual

data, analysis, opinion, or documentation, and shall set forth the relief requested and any

schedule within which the dispute must be resolved for orderly implementation of this Consent

Decree.

               b.      The United States and any affected Gulf State shall respond to BPXP’s

motion within the time period allowed by the Local Rules of this Court.

       58.     Burden of Proof. Except as otherwise provided herein, BPXP shall bear the

burden of demonstrating by a preponderance of the evidence that its position complies with this

Consent Decree. With respect to disputes arising under Section XIII, including the application of

any defined terms for purposes of Section XIII, the burden of proof shall be in accordance with

applicable principles of law.




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       59.     No Effect on Deadlines. The invocation of dispute resolution procedures under

this Section shall not, by itself, extend, postpone, or affect in any way any obligation of BPXP

under this Consent Decree, unless and until final resolution of the dispute so provides.

XIII. COVENANTS NOT TO SUE AND RESERVATIONS

       60.     United States’ Covenants to BP Entities. Subject only to the reservations of rights

in Paragraphs 64 and 65, the United States covenants not to sue BPXP and/or other BP Entities

for any and all civil or administrative claims arising from the Deepwater Horizon Incident,

including but not limited to any and all such claims under (a) OPA; (b) the CWA; (c) OCSLA;

(d) the Endangered Species Act § 11(a)(1), 16 U.S.C. § 1540(a)(1); (e) the Marine Mammal

Protection Act, 16 U.S.C § 1361 et seq.; (f) the National Marine Sanctuaries Act § 306,

16 U.S.C. § 1436; (g) the Federal Oil and Gas Royalty Management Act, 30 U.S.C. § 1719(a);

(h) the False Claims Act, 31 U.S.C. § 3729 et seq.; (i) CERCLA, 42 U.S.C. § 9601 et seq.; (j) the

National Historic Preservation Act, 54 U.S.C. § 300101 et seq. and the former 16 U.S.C. § 470 et

seq. (repealed Dec. 19, 2014); (k) the Clean Air Act, 42 U.S.C. § 7401 et seq.; (l) the Emergency

Planning and Community Right-to-Know Act, 42 U.S.C. § 11001 et seq.; (m) any claims

asserted by the United States in Civ. No.2:10-cv-04536 (E.D. La.) and MDL 2179; or (n) any

other statute or cause of action for civil damages or civil penalties that the Civil Division of the

Department of Justice or DOJ ENRD has actual and present authority to assert and compromise

pursuant to 28 C.F.R. § 0.45 or § 0.65. Subject only to the reservations of rights in Paragraphs 64

and 65, the United States also covenants not to sue BPXP and/or other BP Entities for (a) past,

present, or future Natural Resource Damages, whether known or unknown, including assessment




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costs, resulting from the Deepwater Horizon Incident; and (b) costs of response or removal

related to the Deepwater Horizon Incident.

       61.     Gulf States’ Covenants to BP Entities. Subject only to the reservation of rights in

Paragraph 64, each of the Gulf States fully, finally, and forever release and waive any and all

claims against BPXP and/or the BP Entities arising from the Deepwater Horizon Incident and

further, the Gulf States covenant not to sue BPXP and/or BP Entities for any and all civil or

administrative claims arising from the Deepwater Horizon Incident, including but not limited to

claims under any and all of the following: (a) OPA; (b) the CWA; (c) OCSLA; (d) the Endangered

Species Act § 11(a)(1), 16 U.S.C. § 1540(a)(1); (e) the Marine Mammal Protection Act, 16 U.S.C

§ 1361 et seq.; (f) the National Marine Sanctuaries Act § 306, 16 U.S.C. § 1436; (g) the Federal Oil

and Gas Royalty Management Act, 30 U.S.C. § 1719(a); (h) the False Claims Act, 31 U.S.C.

§§ 3729 et seq.; (i) CERCLA, 42 U.S.C. § 9601 et seq.; (j) the National Historic Preservation Act,

54 U.S.C. § 300101 et seq. and the former 16 U.S.C. § 470 et seq. (repealed Dec. 19, 2014);

(k) the Clean Air Act, 42 U.S.C. § 7401 et seq.; (l) the Emergency Planning and Community

Right-to-Know Act, 42 U.S.C. § 11001 et seq.; (m) any state statutes corresponding to or

containing causes of action similar to those provided to the United States government under (a)

through (l) above; and (n) any other claims or causes of action for damages, costs, fines, or

penalties arising under any state statute, ordinance, regulation or common law related to protection

or restoration of the environment or Natural Resources or historic preservation arising from the

Deepwater Horizon Incident. Subject only to the reservation of rights in Paragraph 64, the Gulf

States also covenant not to sue BPXP and/or BP Entities for (a) past, present or future Natural

Resource Damages, whether known or unknown, including assessment costs, resulting from the




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Deepwater Horizon Incident; and (b) costs of response or removal related to the Deepwater

Horizon Incident.

       62.     Covenants Concerning Natural Resource Damages. The United States and Gulf

States agree that the payments provided under Sections V and VII, together with the payments

previously provided under the Framework Agreement, will fully resolve their claims for Natural

Resource Damages, whether known or unknown, resulting from the Deepwater Horizon

Incident.

       63.     Covenants Concerning Indemnified Parties. The United States and the Gulf

States, including any future-designated Natural Resource Trustees, shall not assert claims against

any and all Indemnified Parties to the same extent that the United States or Gulf States have

covenanted not to sue BPXP and/or BP Entities in Paragraphs 60 and 61, as applicable. For all

such Indemnified Parties this covenant excludes penalties, and for Anadarko this covenant also

excludes royalties that the United States alleges are owed to DOI on oil from the Macondo Well

that was discharged during the Deepwater Horizon Incident.

       64.     Reservations of Rights by the United States and Gulf States. Notwithstanding any

other provision of this Consent Decree, the United States and the Gulf States each reserve the

following claims against BPXP or any other person:

               a.     Claims based on a failure to meet a requirement of the Consent Decree;

               b.     Claims based on past, present, or future discharges or releases of oil or a

hazardous substance outside the definition of “Deepwater Horizon Incident”;

               c.     Claims based on any discharge or release of oil or a hazardous substance

from the Macondo Well after the Date of Lodging of the Consent Decree; and




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               d.      Claims based on any violation of federal or state law that occurs after the

Date of Lodging of the Consent Decree.

       65.     Additional Reservations of Rights Solely by the United States. Notwithstanding

any other provision of this Consent Decree, the United States reserves the following claims

against BPXP or any other person:

               a.      Claims for response or removal costs related to the Deepwater Horizon

Incident that are incurred on or after July 2, 2015 and have been paid by the OSLTF, provided

that where oil is addressed in such a response or removal, the oil is found to be from the

Macondo Well based on either: (i) a positive chemical fingerprinting test; or (ii) a preponderance

of the evidence, including chemical testing and other factors, taking into consideration any

evidence provided by any BP Entity that disputes liability. BPXP and the BP Entities reserve all

their rights to assert any factual or legal defenses against claims asserted by the United States

under this subparagraph.

               b.      All subrogated rights under OPA, 33 U.S.C. § 2715, with respect to any

claims for damages other than Natural Resource Damages resulting from the Deepwater Horizon

Incident that are (i) brought by parties other than the United States or any of its agencies,

departments, or branches, the Gulf States or any of the Gulf States’ agencies, departments,

branches, or any Settling Local Entity, and (ii) are paid by the OSLTF after July 2, 2015. The BP

Entities reserve all their rights to assert any factual or legal defenses against subrogated claims

asserted by the United States under this subparagraph.

       66.     Data Sharing and Related Agreements Voided. As of the Effective Date of this

Consent Decree, any and all Natural Resource Damages assessment agreements related to the




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Deepwater Horizon Incident between any Trustee and BPXP, including any commitments in

work plans or other formal or informal agreements, written or oral, to (i) provide data, analysis

or any other material or information related to the Deepwater Horizon Incident natural resource

damages assessment or restoration planning or (ii) to share or preserve any tangible things or

information, shall be void. Each BP Entity will keep confidential and not make public

information as provided under the following data sharing agreements: Sea Turtle Data Sharing

Agreement; Marine Mammal Data Sharing Agreement; and the Sea Turtle Carcass Drift Study.

       67.     Savings Provision. Except as provided in Paragraph 66, other than the Project

Stipulations entered into pursuant to the Framework Agreement, these covenants not to sue do

not affect rights under any written agreement or settlement, existing as of July 2, 2015 to which

any instrumentality of the United States and any of the BP Entities are both a party.

       68.     BP Entities’ Covenants to the United States and the Gulf States. BPXP and the BP

Entities each covenant not to sue the United States or any of the Gulf States for, or to maintain in

any administrative proceeding, any claim or defense that any of them has asserted in MDL 2179

and any other claims asserted or that could be asserted by any of the BP Entities against the

United States and/or the Gulf States arising from the Deepwater Horizon Incident, including, but

not limited, to claims pursuant to OPA §§ 1007, 1008, 1012, 1013, or 1015(a), 33 U.S.C.

§§ 2707, 2708, 2712, 2713, or 2715(a), or before the IBLA, based on transactions or occurrences

prior to July 2, 2015.

       69.     Treatment in Federal Contracts. In their capacities as federal contractors and

lessees, each BP Entity agrees not to charge the United States, such as through a “cost plus”

contract, for any payments made or costs incurred in connection with U.S. Covered Matters or




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State Covered Matters and the Plea Agreement. Nothing in this Paragraph shall require any BP

Entity to change its ordinary accounting practice for overhead expenses in contracts that are not

“cost plus” contracts.

        70.    Gulf States’ Covenants to the United States. Each of the Gulf States covenants not

to sue or otherwise assert any claims against the OSLTF arising from the Deepwater Horizon

Incident.

        71.    Attorney’s Fees and Costs. Except as otherwise ordered by the Court, no Party or

BP Entity shall seek from another Party or any BP Entity any costs within the meaning of 28

U.S.C. § 1920 or attorney fees arising from MDL 2179 (including any matters transferred to

MDL 2179), State Covered Matters or U.S. Covered Matters.

        72.    Dismissal of Appeals. Upon the Effective Date of the Consent Decree, BPXP and

the United States agree to file with the U.S. Court of Appeals for the Fifth Circuit in appeal

docket number 14-31374 a joint stipulation stating that they have settled their dispute regarding

the CWA and accordingly that BPXP is no longer seeking Fifth Circuit review of the Court

orders at issue in that appeal with respect to the United States, but will continue to seek review of

those orders to the extent that those orders relate to any ongoing disputes between the BP Entities

and other parties to that appeal and/or in other pending proceedings. The BP Entities also agree

that in the remaining appeal they will not assert any legal arguments interpreting the standard for

determining gross negligence under the CWA or OPA, provided, however, that nothing in this

Paragraph shall be construed to limit the BP Entities’ ability to advance, or respond to, any legal

arguments regarding the standard for gross negligence or recklessness under general maritime

law.




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       73.     Dismissal of IBLA Appeals. By no later than 15 Days after the Effective Date,

BPXP shall withdraw with prejudice its appeals IBLA 2012-50, IBLA 2012-85, and IBLA 2010-

0236, and the incidents of noncompliance issued by BSEE on October 12, 2011 and December 7,

2011, as described in Paragraph J, are then fully and finally resolved.

       74.     Instrumentalities. All references to the Gulf States in this Section XIII and

Paragraph 5 shall include each and every of the five Gulf States and, respectively, all State

Trustees, all branches, agencies, associations, authorities, boards, bureaus, councils, departments,

educational institutions or systems, components, public benefits corporations, or other

instrumentalities of any kind, administrators, elected or unelected officials, officers or delegates

(other than in their individual capacities), attorneys, or other agents of any kind of each of the

Gulf States, provided however that a reference to a Gulf State shall not include counties,

parishes, municipalities, or any other local governmental or local political subdivisions

authorized by law to perform local governmental functions.

XIV. ADDITIONAL CONDITIONS

       75.     Resolution of Other Gulf States Claims. This settlement, and the entry of the

Consent Decree, are conditioned upon the Settlement Agreement between the Gulf States and

BPXP fully and finally resolving the Gulf States’ remaining claims arising from the Deepwater

Horizon Incident being executed and effective.

       76.     Limitation on Naming Trustees.

               a.      The Trustees designated by the United States and each of the Gulf States

with respect to the Deepwater Horizon Incident are set forth in Appendix 1. No Gulf State shall




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designate any new Trustee for the purpose of asserting a claim for Natural Resource Damages

resulting from the Deepwater Horizon Incident.

               b.      The Trustees will negotiate a revised Memorandum of Understanding

among them which will, among other things, reflect USDA and EPA membership in the Trustee

Council.

       77.     Final Judgment. Upon approval and entry of this Consent Decree by the Court,

this Consent Decree shall constitute a final judgment of the Court as to the United States, each of

the Gulf States, BPXP, BPCNA, and BP p.l.c. The Court finds that there is no just reason for

delay and therefore the Court enters this Consent Decree as a final judgment under Federal Rules

of Civil Procedure 54(b) and 58.

       78.     Integration. Except as expressly provided in Pararaph 75, this Consent Decree

constitutes the final, complete, and exclusive agreement and understanding among the Parties

with respect to the settlement embodied in this Consent Decree and supersedes all prior

agreements and understandings, whether oral or written, concerning the settlement embodied

herein. No other document, or any representation, inducement, agreement, understanding, or

promise, shall constitute any part of this Consent Decree or the settlement it represents.

       79.      No Admissions.

               a.      Except as expressly provided in this Consent Decree, nothing in this

Consent Decree shall constitute an admission of any fact or law by any Party except for the

purpose of enforcing the terms or conditions set forth herein.

               b.      The Parties agree that Appendix 2 and the PDARP, and any amendments

or modifications thereto, shall not constitute an admission of fact or law by BPXP or any BP




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Entity. BPXP and the BP Entities reserve their right to object to any statements, data, findings,

methods, or calculations in the PDARP or future restoration plans related to the Deepwater

Horizon Incident, in any proceeding, forum, or matter other than a proceeding to challenge the

legal sufficiency or validity of the Consent Decree or the PDARP or any such future plan.

XV.    PUBLIC PARTICIPATION

       80.     Public Comment Procedure. This Consent Decree will be lodged with the Court to

allow for a period of not less than 60 Days for public notice and comment using the procedures

of 28 C.F.R. § 50.7, 42 U.S.C. § 6973(d), La. R.S. 30:2050.7, and Texas Water Code § 7.110.

       81.     The United States’ and Gulf States’ Right to Withdraw Consent. At any time prior

to the Effective Date, the United States and each Gulf State may withdraw or withhold consent

to the proposed Consent Decree if comments received during the public comment procedure

disclose facts or considerations indicating that the proposed Consent Decree or any of its terms is

inappropriate, improper, or inadequate.

       82.     Effect of Withdrawal by the United States or One of the Gulf States. If the

United States or any Gulf State withdraws from the proposed Consent Decree, the proposed

Consent Decree shall become null and void as to all other Parties.

       83.     Consent to Entry. BPXP, BPCNA, and BP p.l.c. each consent to entry of the

proposed Consent Decree without further notice and agree not to withdraw from or oppose entry

of the proposed Consent Decree by the Court or to challenge any provision of the proposed

Consent Decree, unless the United States or one of the Gulf States withdraws from the

proposed Consent Decree pursuant to Paragraph 81.




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XVI.     LIMITS AND EFFECTIVE DATE OF CONSENT DECREE

        84.     Requirement to Comply with Other Law. Nothing in this Decree excuses BPXP

from securing any applicable permits or complying with applicable law.

        85.     Effective Date of Consent Decree. This Consent Decree takes effect upon the

Effective Date.

        86.       Payment Dates. If any payment date provided herein falls on a Saturday, Sunday,

or federal holiday, the payment obligation shall extend until the close of business of the next

business day.

XVII. MODIFICATION

        87.     Modification of Consent Decree. The terms of this Consent Decree, including any

Appendix other than Appendix 2, may be modified only by a subsequent written agreement

signed by all the Parties. Where any such modification constitutes a material change to this

Consent Decree, it shall be effective only upon approval by the Court.

        88.     BP Entities’ Consent to Modifications of Appendix 2. The Trustees will provide a

period for public comment on the proposed PDARP consistent with OPA regulatory

requirements, including 15 C.F.R. § 990.23, and other legal requirements. Revisions to the

proposed PDARP that the Trustees, in their discretion, decide to make in response to public

comments may require the United States and the Gulf States to make conforming modifications

to Appendix 2 to this Consent Decree. The BP Entities consent to modifications to Appendix 2

without further notice.




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XVIII. TERMINATION

       89.     Request for Termination. BPXP may serve upon the United States and each of the

Gulf States a request for termination, after BPXP has completed the requirements of Sections IV,

V, VI, VII, VIII, IX, X, and XI (including all payments required by those Sections).

       90.     Motion for Termination. Following receipt by the United States and each of the

Gulf States of BPXP’s request for termination, the Parties shall confer informally concerning the

request and any disagreement that the Parties may have as to whether BPXP has complied with

the requirements for termination of this Consent Decree. If the United States, after consultation

with the Gulf States, agrees that the Consent Decree may be terminated, the United States and

BPXP shall submit, for the Court’s approval, a joint stipulation terminating the Consent Decree.

       91.     Effect of Termination. Any termination of this Consent Decree shall not modify

or diminish the Covenants Not to Sue and Reservations set forth in Section XIII, and any related

definitions, all of which shall survive any termination of this Consent Decree. Appendix 2 of this

Consent Decree also shall survive the termination of this Consent Decree and become a separate,

freestanding agreement among the Trustees after such termination.

XIX. NOTICES AND SERVICE OF PROCESS

       92.     Identification of Recipients for Notices. Unless otherwise specified in this

Consent Decree, whenever notifications, submissions, or communications are required by this

Consent Decree, they shall be made in writing and addressed as follows, using both U.S. Mail

and electronic mail where such addresses are provided:




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 As to the United States:

        EES Case Management Unit
        Environment and Natural Resources Division
        U.S. Department of Justice
        P.O. Box 7611
        Washington, D.C. 20044-7611
        Re: DJ # 90-5-1-1-10026

        Sharon D. Smith
        Assistant United States Attorney
        United States Attorney’s Office, E.D. Louisiana
        650 Poydras Street, Suite 1600
        New Orleans, Louisiana 70130
        Fax: (504) 589-4510
        Email: sharon.d.smith@usdoj.gov

        Director, Water Enforcement Division
        U.S. Environmental Protection Agency
        1200 Pennsylvania Avenue, NW
        Washington, DC 20460

        Assistant Administrator, Office of Water
        U.S. Environmental Protection Agency
        1200 Pennsylvania Avenue, NW
        Washington, DC 20460

        Chief, Office of Claims and Litigation (CG-LCL)
        United States Coast Guard Stop 7213
        2703 Martin Luther King Jr. Ave. SE
        Washington, DC 20593-7213

        Bureau of Safety and Environmental Enforcement
        Regional Director
        1201 Elmwood Park Blvd.
        New Orleans, LA 70125-2394

        With a copy to:

        Bureau of Safety and Environmental Enforcement
        Office of the Director
        1849 C Street, NW
        Washington, DC 20240




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        General Counsel
        National Oceanic and Atmospheric Administration
        U.S. Department of Commerce
        1401 Constitution Avenue, N.W.
        Washington DC 20230
        Fax: 202-482-4893
        Phone: 202-482-4080
        Attn: Chief, Natural Resources Section

        Michele N. Laur
        Senior Advisor
        USDA, NRCS, Gulf Coast Ecosystem Restoration Team (GCERT)
        7578 Old Canton Road
        Madison, MS 39110

        Primary: 202-579-0585
        Secondary: 601-607-3131 ext. 109
        Fas: 844-325-7065

 As to the State of Alabama:

        Governor of Alabama
        Attn: BP Litigation
        State Capitol
        600 Dexter Avenue
        Montgomery, AL 36130

        Attorney General
        Office of the Attorney General
        c/o BP Litigation
        501 Washington Avenue
        Montgomery, AL 36130

        Commissioner
        Alabama Department of Conservation and Natural Resources
        Attn: BP Litigation
        64 North Union Street, Room 468
        Montgomery, AL 36130

 As to the State of Florida:

        General Counsel




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        Florida Department of Environmental Protection
        3900 Commonwealth Blvd., M.S. 35
        Tallahassee, FL 32399-3000

        Deputy General Counsel for Enforcement
        Florida Department of Environmental Protection
        3900 Commonwealth Blvd., M.S. 35
        Tallahassee, FL 32399-3000

        General Counsel
        Florida Fish & Wildlife Conservation Commission
        620 South Meridian St.
        Tallahassee, FL 32399-1600

        Office of Attorney General
        State of Florida
        107 W. Gaines St
        Tallahassee, FL 32301-2301

 As to the State of Louisiana:

        Office of Attorney General
        State of Louisiana
        Attn: Section Chief - Environmental
        State of Louisiana
        P.O. Box 94005
        Baton Rouge, LA 70804-9005

        1885 N. Third Street
        6th Floor
        Baton Rouge, LA 70802-5159

        And

        Executive Director
        Louisiana Coastal Protection and Restoration Authority
        P.O. Box 44027
        Baton Rouge, LA 70804-4027

        450 Laurel Street
        Suite 1501
        Baton Rouge, LA 70801




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 As to the State of Mississippi:

        The Honorable Jim Hood
        Attorney General State of Mississippi
        Post Office Box 220
        Jackson, MS 39205

 As to the State of Texas:

        Chief, Environmental Protection Division
        (Attn: Thomas Edwards, AAG and Jane Atwood, AAG)
        Office of the Attorney General (MC-066)
        P.O. Box 12548
        Austin, TX 78711-2548

        Wm. P. Clements State Office Building
        300 W. 15th St., Floor 10
        Austin, TX 78701-1649

        Phone: (512) 463-2012
        Email: Thomas.Edwards@TexasAttorneyGeneral.gov and
               Jane.Atwood@TexasAttorneyGeneral.gov

 As to BPXP:

        BP Exploration & Production Inc.
        501 Westlake Park Boulevard
        Houston, Texas 77079
        Attention: U.S. Company Secretary

        with copies to each of the following:

        BP Exploration & Production Inc.
        501 Westlake Park Boulevard
        Houston, Texas 77079
        Attention: Gulf of Mexico, Regional President

        BP America
        501 Westlake Park Boulevard
        Houston, Texas 77079
        Attention: U.S. General Counsel




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       As to BPCNA:

               BP Corporation North America Inc.
               501 Westlake Park Boulevard
               Houston, Texas 77079
               Attention: Company Secretary

               with copies to each of the following:

               BP Corporation North America Inc.
               501 Westlake Park Boulevard
               Houston, Texas 77079
               Attention: President

               BP America
               501 Westlake Park Boulevard
               Houston, Texas 77079
               Attention: U.S. General Counsel

       As to BP p.l.c.:

               BP p.l.c.
               1 St James’s Square
               London, SW1Y 4PD
               United Kingdom
               Attention: Company Secretary

               with copies to each of the following:

               BP p.l.c.
               1 St James’s Square,
               London, SW1Y 4PD
               United Kingdom
               Attention: Group General Counsel

               BP America
               501 Westlake Park Boulevard
               Houston, Texas 77079
               Attention: U.S. General Counsel

       93.     Change of Recipients for Notices. Any Party may, by written notice to the other

Parties, change its designated notice recipient or notice address provided above.




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       94.     Date of Service. Notices submitted pursuant to this Section shall be deemed

served or submitted upon mailing, unless otherwise provided in this Consent Decree or by

mutual agreement of the Parties in writing.

       95.     Acceptance of Service of Process. The Parties agree to accept service of process

as by delivery at the addresses specified in Paragraph 92 or in accordance with Paragraph 93

with respect to all matters arising under or relating to this Consent Decree.

XX.    SIGNATURES

       96.     Authority of Signatories. Each of the undersigned representatives certifies that he

or she is fully authorized to enter into the terms and conditions of this Consent Decree, to

execute this Consent Decree, and to legally bind to this Consent Decree the Party, affiliate or

entity he or she represents.

       97.     Counterparts. This Consent Decree may be executed in counterparts, and its

validity shall not be challenged on that basis.

       98.     Electronic and Facsimile Signatures. For purposes of this Consent Decree a

signature page that is transmitted electronically (e.g., by facsimile or e-mailed “PDF”) shall have

the same effect as an original.


IT IS SO ORDERED:

       Dated and entered in New Orleans, Louisiana, this 4th day of April, 2016.




                                       _______________________________
                                       HONORABLE CARL J. BARBIER
                                       UNITED STATES DISTRICT JUDGE




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